Case 1:19-cv-08694-VM Document 6 Filed 09/20/19 Page 1of3

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

““ | 19CV8694

 

DONALD J. TRUMP,

 

- against -
Case No.
CYRUS R. VANCE, JR., in his official capacity JUDGE MARRERO
as District Attorney of the County of New NOTICE OF EMERGENCY
York; MOTION FOR A TEMPORARY
RESTRAINING ORDER AND A
and PRELIMINARY INJUNCTION

 

MAZARS USA, LLP,

 

Defendants.

Per Federal Rule of Civil Procedure 65, Plaintiff moves for a temporary restraining order and

a preliminary injunction against Defendants, prohibiting them ftom taking any steps to enforce or
comply with the challenged subpoena until this Court enters final judgment. Plaintiff's motion is based
on the attached memorandum of law, his declarations and other filings, and any oral argument or
evidence presented at the hearing. Plaintiff is entitled to a temporary restraining otder and a
preliminary injunction because he has shown ““(a) irreparable harm and (b) either (1) likelihood of
success on the merits or (2) sufficiently serious questions going to the merits to make them a fair
ground for litigation and a balance of hardships tipping decidedly toward the party requesting the
preliminary relief.”” Crtzgroup Glob. Markets, Inc. v. VCG Special Opportunities Master Fund Ltd., 598 F.3d

30, 35 (2d Cir. 2010).
Case 1:19-cv-08694-VM Document 6 Filed 09/20/19 Page 2 of 3

Dated: September 19, 2019

  

Marc L. Mukasey
MUKASEY FRENCHMAN & SKLAROFF LLP
Two Grand Central Tower

140 East 45th Street, 17th Floor
New York, NY 10177
(212) 466-6400
marc.mukasey@mukaseyl

Alan S. Futerfas (oay
LAW OFFICES OF ALAN S$,

565 Fifth Ave., 7th Floor
New York, NY 10017

(212) 684-8400
asfuterfas@futerfaslaw.com

 

 

Respectfully submitted,

     

5/ Wilham S. Consoi
William S. Consovoy (pro/hac vice forthcoming)
Cameron T. Norris

CONSOVOY MCCARTHY PLLC

1600 Wilson Blvd., Ste. 700

Arlington, VA 22209

(703) 243-9423

will@consovoymccarthy.com
cam@consovoymccarthy.com

Patrick Strawbridge

CONSOVOY MCCARTHY PARK PLLC
Ten Post Office Square

8th Floor South PMB #706

Boston, MA 02109
pattick@consovoymccatthy.com
Case 1:19-cv-08694-VM Document 6 Filed 09/20/19 Page 3 of 3

CERTIFICATE OF SERVICE

I, William S. Consovoy, declare under penalty of perjury that I served a copy of this motion

and all attached exhibits via email to the following:

Jerry D. Bernstein
Inbal P. Garrity
Nicholas R. Tambone
BLANK ROME LLP

1271 Avenue of the Americas

New York, NY 10020

(212) 885-5000
jbernstein@blankrome.com
igarrity@blankrome.com
ntambone@blankrome.com

Lawrence H. Wechsler
Henty F. Schuelke IIT
BLANK ROME LLP

1825 Eye Street NW
Washington, D.C. 20006
(202) 420-2200
lwechsler@blankrome.com
hschuelke@blanktome.com

Counsel for Mazars USA LLP

Dated: September 19, 2019

Christopher Conroy

Chief, Major Economic Crimes Bureau
District Attorney’s Office, New York County
One Hogan Place

New York, NY 10013
contoyc@dany.nyc.gov

s{ Wilkam S. Consovoy
Case 1:19-cv-08694-VM Document 6-1 Filed 09/20/19 Page 1 of 2

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

DONALD J. TRUMP,

 

 

Plaintiff, O
- against - ] 9CV8 6 94

Case No.
CYRUS R. VANCE, JR., in his official capacity
as District Attorney of the County of New PROPOSED] ORDER GRANTINGDGE MARRERO
York; PLAINTIFF’S EMERGENCY

MOTION FOR A TEMPORARY
and RESTRAINING ORDER AND A

 

PRELIMINARY INJUNCTION

 

MAZARS USA, LLP,

 

Defendants.

 

After considering Plaintiffs emergency motion for a temporary restraining order and a
preliminary injunction, the parties’ briefs, and the evidence and oral argument presented at the
preliminary-injunction hearing, Plaintiff's motion for a temporary restraining order is GRANTED.
Plaintiff has demonstrated ““(a) irreparable harm and (b) either (1) likelihood of success on the merits
ot (2) sufficiently serious questions going to the merits to make them a fair ground for litigation and
a balance of hardships tipping decidedly toward the patty requesting the preliminary relief.” Citigroup
Glob. Markets, Inc. v. VCG Special Opportunities Master Fund Lid., 598 F.3d 30, 35 (2d Cir. 2010). It is
hereby ORDERED that, until this Court adjudicates the Plaintiffs motion for a preliminary
injunction:

1. The challenged subpoena is stayed;

2. Defendant Mazars USA, LLP (and its successors in office, officers, agents, servants,
employees, attorneys, and anyone acting in concert with them) is enjoined from
disclosing, revealing, delivering, or producing the information requested in the
challenged subpoena, or otherwise taking any action to comply with the challenged

subpoena; and
Case 1:19-cv-08694-VM Document 6-1 Filed 09/20/19 Page 2 of 2

3. Defendant Cyrus R. Vance, Jr. and (and his successors in office, officers, agents,
servants, employees, attorneys, and anyone acting in concert with them) is enjoined
from taking any adverse action against Mazars for not complying with the challenged

subpoena, or taking any other action to enforce the subpoena.

Dated: , 2019

 

United States District Judge
Case 1:19-cv-08694-VM Document 6-2 Filed 09/20/19 Page 1 of 16

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

DONALD J. TRUMP,
Plaintiff,

~ against - | 9 CV S 6 © 4

CYRUS R. VANCE, JR,, in his official capacity JUD
as District Attorney of the County of New GE MASRE Ro
York;

and

MAZARS USA, LLP,
Defendants.

 

DECLARATION OF WILLIAM S. CONSOVOY
I, William S. Consovoy, declare:

1, I am an attorney at the law firm Consovoy McCarthy PLLC, counsel for Plaintiff in
the above-captioned action.

2. I am over the age of eighteen and am under no mental disability or impairment. I have
personal knowledge of the following facts and, if called as a witness, would competently testify to
them.

3. Exhibit A to this declaration is a true and accurate copy of an August 29, 2019 grand-
jury subpoena issued by Solomon Shinerock, on behalf of the District Attorney of the County of New
York, to Mazars USA, LLP.

4, Exhibit B to this declaration is a true and accurate copy of an August 1, 2019 grand-
jury subpoena issued by Solomon Shinerock, on behalf of the District Attorney of the County of New
York, to The Trump Organization.

5. Exhibit C to this declaration is a true and accurate copy of a September 18, 2019 letter
from Plaintiffs attorneys to Christopher Conroy of the New York County District Attorney’s office.

Per 28 U.S.C. § 1746, I declare under penalty of perjury that the above is true and cortect.
Case 1:19-cv-08694-VM Document 6-2 Filed 09/20/19 Page 2 of 16

Executed on September 19, 2019

  
    

s/ William S. Consovo
William S. Consovoy
CONSOVOY MCCARTHY PLLC
1600 Wilson Blvd., Ste. 700
Arlington, VA 22209

(703) 243-9423
will@consovoymccarthy.com
Case 1:19-cv-08694-VM Document 6-2 Filed 09/20/19 Page 3 of 16

Exhibit A
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DISTRICT ATTORNEY
OF THE
COUNTY OF NEW YORK
ONE HOGAN PLACE
New York, N. Y. 10013
(212) 335-9000

 

CYRUS R. VANCE, JR.

DISTRICT ATTORNEY

August 29, 2019

VIA HAND DELIVERY

Mazars USA LLP

Attn: Custodian of Records

135 West 50" Street

New York, NY 10020
Re: Investigation Number 2018-00403803
Return Date: September 19, 2019

To Whom It May Concern:

Enclosed please find a subpoena seeking records relating to the above-referenced investigation.
These records are needed on or before September 19, 2019.

In lieu of appearing petsonally with the requested data, you may email electronic copies to
paralegal Daniel Kenny (kennyd@dany.nyc.gov) or deliver CDs, DVDs, or USB 2.0 external hard
drives to the New York County District Attorney’s Office, 80 Centre Street, Major Economic Crimes
Bureau, New York, NY 10013, for the attention of Assistant District Attorney Solomon Shinerock,
c/o Daniel Kenny. Please note that electronic copies are preferred.

If you have any problems or questions concerning the subpoena or the manner of delivery,
please contact me at the number below. Your attention to this matter is greatly appreciated.

Respectfully yours,

Slot x Ye $§

§efomon Shinerock
Assistant District Att6rney
(212) 335-9567

Enc.
 

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SUBPOENA
(Duces Tecum)

FOR A WITNESS TO ATTEND THE

GRAND JURY

In the Name of the People of the State of New York

To: Custodian of Records
Mazars USA LLP

YOU ARE COMMANDED to appear before the GRAND JURY of the County of New York, at the Grand
Jury Room 907, of the Criminal Courts Building at One Hogan Place, between Centre and Baxter streets, in the
Borough of Manhattan of the City, County and State of New York, on September 19, 2019 at 2:00 p.m. of the
same day, as a witness in a criminal proceeding:

Investigation into the Business and Affairs of John Doe (2018-00403803),

AND, YOU ARE DIRECTED TO BRING WITH YOU AND PRODUCE AT THE TIME AND
PLACE AFORESAID, THE FOLLOWING ITEMS IN YOUR CUSTODY:

SEE EXHIBIT A — ATTACHED

IF YOU FAIL TO ATTEND AND PRODUCE SAID ITEMS, you may be adjudged guilty of a
Criminal Contempt of Court, and liable to a fine of one thousand dollars and imprisonment for one
year.

Dated in the County of New York,
August 29, 2019

CYRUS R. VANCE, JR.
District Attorney, New York County

w». SoLomor

Solomon Shinefogk
Assistant District Attorney
(212) 335-9567

Note: In lieu of appearing personally with the requested documents, you may email electronic copies to paralegal
Daniel Kenny (kennvd@dany.nyc.gov) or deliver CDs, DVDs, ot USB 2.0 external hard drives to the New York
County District Attorney’s Office, 80 Centre Street, Major Economic Crimes Bureau, New York, NY 10013, for the

attention of Assistant District Attorney Solomon Shinerock, c/o Daniel Kenny.
Inv. Number: 2018-00403803

 

 
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EXHIBIT A TO SUBPOENA TO MAZARS USA LLP
DATED AUGUST 29, 2019

ITEMS TO BE PRODUCED are those in the actual and constructive possession of Mazars USA LLP,
its related predecessors, entities, agents, officers, employees and officials over which it has control,
including without limitation subsidiaries:

1.

For the period of January 1, 2011 to the present, with respect to Donald J. Trump, the Donald J.
Trump Revocable Trust, the Trump Organization Inc., the Trump Organization LLC, the Trump
Corporation, DJT Holdings LLC, DJT Holdings Managing Member LLC, Trump Acquisition LLC,
Trump Acquisition, Corp., the Trump Old Post Office LLC, the Trump Foundation, and any related
patents, subsidiaries, affiliates, joint ventures, predecessors, or successors (collectively, the “Trump
Entities”):

a.

b.

Tax returns and related schedules, in draft, as-filed, and amended form;

Any and all statements of financial condition, annual statements, periodic financial reports,
and independent auditors’ reports prepared, compiled, reviewed, or audited by Mazars USA
LLP or its predecessor, WeiserMazars LLP;

Regardless of time period, any and all engagement agreements or contracts related to the
pteparation, compilation, review, or auditing of the documents described in items (a) and (b);

All underlying, supporting, or source documents and records used in the preparation,
compilation, review, or auditing of documents described in items (a) and (b), and any
summaries of such documents and records; and

All work papers, memoranda, notes, and communications telated to the preparation,
compilation, review, or auditing of the documents described in items (a) and (b), including,
but not limited to,

1. All communications between Donald Bender and any employee or representative of
the Trump Entities as defined above; and

ui. All communications, whether internal or external, related to concerns about the
completeness, accuracy, or authenticity of any records, documents, valuations,
explanations, or other information provided by any employee or representative of the
Trump Entities.

 

 
 

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DEFINITIONS AND INSTRUCTIONS

As used herein, unless otherwise indicated, the following terms shall have the meanings set forth below:

9? 6¢

A. The terms “relate,” “reference,” “concern,” “reflect,” “include,” and “including without limitation,” in
whatever tense used, shall be construed as is necessary in each case to make the request to produce
inclusive rather than exclusive, and are intended to convey, as appropriate in context, the concepts of
comptising, respecting, referring to, embodying, evidencing, connected with, commenting on, concerning,
responding to, showing, refuting, describing, analyzing, reflecting, presenting, and consisting of,
constituting, mentioning, defining, involving, explaining, or pertaining to in any way, expressly or
impliedly, to the matter called for.

B. The words “and,” “or,” “any” and “all” shall be construed as is necessaty in each case to make each
request to produce inclusive rather than exclusive.

C. Terms in the plural include the singular and terms in the singular include the plural. Terms in the male
include the female and terms in the female include the male. Neutral gender terms include all.

D. “Document” includes without limitation, any written, printed, typed, photocopied, photographic,
recorded or otherwise created or reproduced communication ot representation, whether comprised of
letters, words, numbers, pictures, sounds or symbols, or any combination thereof, in the form maintained,
having access to, constructively possessed, physically possessed, and controlled. This definition includes
copies or duplicates of documents contemporaneously or subsequently created that have any non-
conforming notes or other markings, and drafts, preliminary versions, and revisions of such. It includes,
without limitation, correspondence, memoranda, notes, records, letters, envelopes, telegrams, faxes,
messages, emails, voice mails, instant messenger services, studies, analyses, contracts, agreements, working
papers, summaries, work papers, calendars, diaties, reports. It includes, without limitation, internal and
external communications of any type. It includes without limitation documents in physical, electronic,
audio, digital, video existence, and all data compilations from which the data sought can be obtained,
including electronic and computer as well as by means of other stotage systems, in the form maintained
and in usable form.

E . “Communication” includes every means of transmitting, receiving or recording transmission or receipt of
facts, information, opinion, data, or thoughts by one person, and between one and more persons,
entities, or things.

 

 
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Exhibit B
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DISTRICT ATTORNEY

OF THE
COUNTY OF NEW YORK
ONE HOGAN PLACE
New York, N. Y. 10013
(212) 335-9000

 

CYRUS R. VANCE, JR.

DISTRICT ATTORNEY

August 1, 2019

VIA EMAIL (marc. mukasey@mukaseylaw.com)

The Trump Organization
Attn: Custodian of Records
727 Fifth Avenue

New York, NY 10022

Re: Investigation Number 2018-00403803
Return Date: August 15, 2019
To Whom It May Concern:

Enclosed please find a subpoena seeking records relating to the above-referenced investigation.
These records are needed on ot before August 15, 2019.

In lieu of appearing personally with the requested documents, you may email electronic copies
to paralegal Daniel Kenny (kennyd@dany.nyc.gov) or deliver CDs, DVDs, or USB 2.0 external hard
drives to the New York County District Attorney’s Office, 80 Centre Street, Major Economic Crimes
Bureau, New York, NY 10013, for the attention of Assistant District Attorney Solomon Shinerock,
c/o Daniel Kenny. Please note that electronic copies are preferred.

To the extent that you withhold documents pursuant to a claim of privilege, please provide a
log setting forth, as to each document, the legal basis for the claim of privilege, the type of document,
its general subject matter, date, author, sender and recipient where applicable, and such other
information as is sufficient to determine the claim of privilege.

If you have any problems or questions concerning the subpoena or the manner of delivery,
please contact me at the number below. Your attention to this matter is greatly appreciated.

Sincerely,

Sdtofon Shinerock7

Assistant District Attorney
(212) 335-9567

Enc.
 

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SUBPOENA
(Duces Tecum)

FOR A WITNESS TO ATTEND THE

GRAND JURY

In the Name of the People of the State of New York

To: Custodian of Records
The Trump Organization

YOU ARE COMMANDED to appear before the GRAND JURY of the County of New York, at the Grand
Jury Room 907, of the Criminal Courts Building at One Hogan Place, between Centre and Baxter streets, in the
Borough of Manhattan of the City, County and State of New York, on August 15, 2019 at 2:00 p.m. of the
same day, as a witness in a criminal proceeding:

Investigation into the Business and Affairs of John Doe (2018-00403803),

AND, YOU ARE DIRECTED TO BRING WITH YOU AND PRODUCE AT THE TIME AND
PLACE AFORESAID, THE FOLLOWING ITEMS IN YOUR CUSTODY:

SEE EXHIBIT A —- ATTACHED

IF YOU FAIL TO ATTEND AND PRODUCE SAID ITEMS, you may be adjudged guilty of a
Criminal Contempt of Court, and liable to a fine of one thousand dollars and imprisonment for one

year.
Dated in the County of New York,
August 1, 2019

CYRUS R. VANCE, JR.
District Attorney, New York County

By: Lees i

»mon abaya
“Assistant District Attorney

(212) 335-9567

  

Note: In lieu of appearing personally with the requested documents, you may email electronic copies to paralegal
Daniel Kenny (kennyd@dany.nyc.gov) or deliver CDs, DVDs, or USB 2.0 external hard drives to the New York
County District Attorney’s Office, 80 Centre Street, Major Economic Crimes Bureau, New York, NY 10013, for the

attention of Assistant District Attorney Solomon Shinerock, c/o Daniel Kenny.
Inv. Number: 2018-00403803

 

 
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EXHIBIT A TO SUBPOENA TO THE TRUMP ORGANIZATION
DATED AUGUST 1, 2019

ITEMS TO BE PRODUCED are those in the actual and constructive possession of the Trump
Organization, its entities, agents, officers, employees and officials over which it has control, including
without limitation its subsidiaries:

1. For the period of June 1, 2015, through September 20, 2018, any and all documents and
communications that relate to, reference, concern, or reflect:

a.

b.

payments made for the benefit of or agreements concerning Karen McDougal,

payments made for the benefit of or agreements concerning Stephanie Clifford aka Stormy
Daniels aka Peggy Peterson,

payments made to or agreements with Michael Cohen or American Media, Inc. that concern
Karen McDougal or Stephanie Clifford aka Stormy Daniels aka Peggy Peterson,

including but not limited to documents and communications involving:

* @ e@ ® 6 @® 6

Resolution Consultants LLC

Essential Consultants LLC aka EC LLC
Entities owned or controlled by Michael Cohen
Michael Cohen

David Dennison

Keith Davidson

Keith M. Davidson & Associates
American Media, Inc.

National Enquirer

David Pecker

Dylan Howard

Hope Hicks

Jill Martin

Jeffrey McConney

Deborah Tarasoff

Donald Trump, Jr.

Allen Weisselberg.

The items sought by this demand include without limitation: emails, memoranda, and other
communications; invoices; agreements, including without limitation retainer agreements; accounting
and other book entries or backup documents; general ledger records; wire transfer requests and
related records, check images, bank statements, and any other evidence of payments or installments;
and organizational documents and agreements, including without limitation articles of incorporations,
limited liability agreements, and minutes of director or member meetings.

2. For the period of June 1, 2015, through September 20, 2018, any and all documents and
communications that relate to, reference, concern, or reflect Michael Cohen’s employment by or work
on behalf of Donald Trump or the Trump Organization at any time, including without limitation:

 

 
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invoices, payment records, human resource records, W2s, 1099s, emails, memoranda, and other
communications.

For any responsive documents or communications withheld under a claim of privilege, please provide
a log setting forth, as to each such document or communication, the legal basis for the claim of
ptivilege, the type of document or communication, its genera] subject matter, date, author, sender and
recipient where applicable, and such other information as is sufficient to determine the claim of

privilege.

 

 
 

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DEFINITIONS AND INSTRUCTIONS

As used herein, unless otherwise indicated, the following terms shall have the meanings set forth below:

2? 6

A. The terms “relate,” “reference,” “concern,” “reflect,” “include,” and “including without limitation,” in whatever
tense used, shall be construed as is necessary in each case to make the request to produce inclusive rather than
exclusive, and are intended to convey, as appropriate in context, the concepts of comprising, respecting, referring
to, embodying, evidencing, connected with, commenting on, concerning, responding to, showing, refuting,
describing, analyzing, reflecting, presenting, and consisting of, constituting, mentioning, defining, involving,
explaining, or pertaining to in any way, expressly or impliedly, to the matter called for.

B. The words “and,” “or,” “any” and “all” shall be construed as is necessary in each case to make each request to

produce inclusive rather than exclusive.

C, Terms in the plural include the singular and terms in the singular include the plural. Terms in the male include the
fernale and terms in the female include the male. Neutral gender terms include all.

D. “Document” includes without limitation, any written, printed, typed, photocopied, photographic, recorded or
otherwise created or reproduced communication or representation, whether comprised of letters, words, numbers,
pictures, sounds or symbols, or any combination thereof, in the form maintained, having access to, constructively
possessed, physically possessed, and controlled. This definition includes copies or duplicates of documents
contemporaneously or subsequently created that have any non-conforming notes or other markings, and drafts,
preliminary versions, and revisions of such. It includes, without limitation, correspondence, memoranda, notes,
records, letters, envelopes, telegrams, faxes, messages, emails, voice mails, instant messenger services, studies,
analyses, contracts, agreements, working papers, summaries, work papers, calendars, diaties, reports. It includes,
without limitation, internal and external communications of any type. It includes without limitation documents in
physical, electronic, audio, digital, video existence, and all data compilations from which the data sought can be
obtained, including electronic and computer as well as by means of other storage systems, in the form maintained

and in usable form.

E , “Communication” includes every means of transmitting, receiving or recording transmission or receipt of facts,
information, opinion, data, or thoughts by one person, and between one and mote persons, entities, or things.

 

 
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Exhibit C
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MUKASEY
FRENCHMAN & SKLAROFF 3

2 Grand Central Tower
140 East 45th Street, Suite 17A
New York, NY 10017
Marc L. Mukasey

Partner
212-466-6406

Marc.mukasey@mfsllp.com

September 18, 2019

VIA EMAIL AND OVERNIGHT MAIL
Christopher Conroy (CONROYC@dany.nyc.gov )
Chief, Major Economic Crimes Bureau

District Attorney’s Office, New York County

One Hogan Place

New York, NY 10013

Re: Grand Jury Subpoena Duces Tecum to Mazars USA LLP

Dear Mr. Conroy:
This letter addresses the issues discussed in today’s meeting and our follow-up phone call.

As you know, we represent President Donald J. Trump and the Trump Organization in connection
with a grand jury subpoena issued to Mazars USA LLP (“Mazars”). Mazars is the outside accountant to
President Trump and the Trump Organization and, thus, is merely a custodian of the records sought by the
subpoena. Our clients are the true parties-in-interest. We write to request, as we did at the meeting, that you
temporarily suspend enforcement of the subpoena to allow for the proper and orderly resolution of the
important constitutional issues raised therein. We submit that such a procedure best promotes the interests
of fairness and justice—as well as respect for the Office of the President. We are asking for a written
statement from your office by 1pm on September 18, 2019, that you are willing to suspend
enforcement of the Mazars subpoena pending further negotiation and/or litigation.

By way of background, on August 1, 2019, your office issued a grand jury subpoena to the Trump
Organization in connection with a certain investigation. Upon receipt of the subpoena, the Trump
Organization immediately expressed its willingness to cooperate with your office and it has done so. The
Trump Organization has produced hundreds of documents in response to the subpoena—including many
that you identified as priority items—and additional responsive documents are being gathered, reviewed,
and prepared for production. Notably, the subpoena does not call for the Trump Organization’s tax returns.
But when you nevertheless indicated otherwise, we agreed to meet and discuss the issue. In the meantime,
the Trump Organization has maintained an open line of communication with your office, adhered to
deadlines, and conducted itself in a cordial and amicable manner.

Two weeks ago, you issued a grand jury subpoena to Mazars in connection with the same
investigation. That subpoena calls for Mazars to produce, among other things, many years of President
Trump’s personal tax returns and those of the Trump Organization. The subpoena is returnable on
September 19, 2019, and, thus far, you have refused to grant Mazars an extension of time to produce the
requested documents.

The issues raised by the Mazars subpoena are important and unprecedented. They raise serious
constitutional issues that should be properly resolved in court. Efforts to obtain the President’s tax returns
are the subject of litigation in the United States Court of Appeals for the Second Circuit, the United States
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Christopher Conroy
September 18, 2019
Page 2

Court of Appeals for the District of Columbia Circuit, and the United States District Court for the District
of Columbia. The issues at stake are simply too significant to place Mazars in the untenable position of
producing the President’s tax returns on September 19th or being held in contempt.

Resolution of this matter of first impression will set the course for future occupants of the Oval
Office. It should be handled prudently. That is why the House Oversight Committee agreed to suspend
enforcement of its subpoena to Mazars so the constitutional dispute could be litigated in an orderly fashion
without burdening courts with requests for emergency relief. It would be deeply troubling if your office is
unwilling to do the same here.

We respectfully request that you approach this matter with the same rectitude and courtesy
Congress did when it issued subpoenas for the President’s records to Mazars, Capital One, and Deutsche
Bank: suspend enforcement of the subpoena to Mazars so the President of the United States can be heard
in court. No prejudice will accrue to your office - your investigation appears to be historical, there is no
danger of spoliation, and there is no urgency to the matter.

Finally, your blanket refusal to grant a brief extension to Mazars is inconsistent with how state and
federal investigations typically proceed. The undersigned counsel has vast experience in these matters and
we, collectively, do not recall an instance where at least one brief adjournment was not granted while the
parties explored their legal and negotiation options. Ignoring these normal practices smacks of selective
enforcement against the President.

Thank you again for meeting and for arranging a meeting with the District Attorney. We look
forward to hearing from you in writing by 1pm on September 18th, and to working with you on this matter
in a professional, orderly fashion.

Very truly yours,

“wen

Marc L. Mukasey

Founding Partner

Mukasey Frenchman & Sklaroff LLP
140 East 45th Street

New York, New York 10017

W/C [Mw

 

William S. Coilsavoy
Consavoy McCarthy PLLC
1600 Wilson Blvd., Ste. 700
Arlington, VA, 22209

Af /am

Alan S. Futerfas
565 Fifth Avenue
New York, New York 10017

ce: Cyrus R. Vance Jr., District Attorney
ADA Solomon Shinerock
Case 1:19-cv-08694-VM Document 6-3 Filed 09/20/19 Page 1 of 18

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

DONALD J. TROMP, Plaintiff, ] 9 CV 8 6 9 a

 

 

 

 

- against - Case No. JUDGE MA SR
‘
CYRUS R. VANCE, JR., in his official capacity MEMORANDUM OF LAW IN ERO
as District Attorney of the County of New SUPPORT OF PLAINTIFF'S
York; SOLOMON SHINEROCK, in his EMERGENCY MOTION FORA
official capacity as Assistant District Attorney TEMPORARY RESTRAINING
for the County of New York; ORDER AND A PRELIMINARY
INJUNCTION
and

MAZARS USA, LLP,

 

Defendants.

 

INTRODUCTION

Under Article I, the Supremacy Clause, and the structure of our Constitution, the President
of the United States cannot be “subject to the criminal process” while he is in office. Memorandum
for the U.S. Concerning the Vice President’s Claim of-Constitutional Immunity 17, In re Proceedings of
the Grand Jury Impaneled Dec. 5, 1972, No. 73-cv-965 (D. Md.) (Bork Memo). Virtually “all legal
commenters” agree. Id. The United States Department of Justice agrees too. See A Sitting President’s
Amenability to Indictment and Criminal Prosecution, 24 O.L.C. Op. 222 (Oct. 16, 2000). And no court has
ever suggested otherwise.

Yet the District Attorney of New York County is charging down this blatantly unconstitutional
path; and he’s plainly doing so in a way that, he hopes, will evade judicial review altogether. The
District Attorney is subjecting the President to ctiminal process: he is investigating alleged criminal
conduct by the President, has issued a grand jury subpoena to the President’s business, and is seeking
the President’s personal financial information. But when negotiations over that subpoena reached an
impasse, the District Attorney issued a new subpoena to Mazats USA, LLP—the President’s longtime

accountant. By subpoenaing Mazars, a neutral third-party custodian, and threatening it with contempt
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if it did not divulge the President’s records by September 19, 2019, the District Attorney sought to
“frustrate any judicial inquiry” into the subpoena’s validity. Eastland v. U.S. Servicemen’s Fund, 421 US.
491, 501 n.14 (1975).

This is untenable. The President of the United States is entitled to his day in court. “[T]he
fortuity that documents sought ... are not in the hands of a party claiming injury from the subpoena
should not immunize that subpoena from challenge by that party,” and “[t}he fact that the Executive
is not in a position to assert its claim of constitutional right by refusing to comply with a subpoena
does not bar the challenge.” United States v. AT¢>T Co., 567 F.2d 121, 129 (D.C. Cir. 1977). Indeed,
this is not the first time that the President has been forced to challenge subpoenas to third-party
custodians for his confidential financial information. But in those cases, the congressional defendants
agreed to stay their subpoenas until the district court resolved the President’s preliminary-injunction
motion (plus one week). See Trump v. Comm. on Oversight ¢» Reform of U.S. House of Representatives, 380
F. Supp. 3d 76, 88 (D.D.C. 2019); Doc. 21, No. 19-cv-3826, Trump v. Deutsche Bank, AG (S.D.N.Y)).
Yet, when asked to offer this same minimum telief here so that this important constitutional dispute
could be litigated in an orderly and equitable fashion, the District Attorney refused in the hope that
he could force Mazats to quickly comply and subvert judicial review.’

The President, accordingly, was forced to file this emergency motion. For the reasons set forth
below, The President respectfully requests a temporary restraining order prohibiting Defendants from
enforcing or complying with the Mazars subpoena until the President’s preliminary-injunction motion
is resolved. After the TRO, the President requests a preliminary injunction prohibiting Defendants
from enforcing or complying with the Mazats subpoena until his claims are tesolved on the merits. If

the Court needs more time, the President asks it to administratively stay the subpoena. To preserve

 

* Yesterday afternoon, the District Attorney offered to give Mazars until September 23, 2019
to produce the portion of the subpoena calling for tax records—an extension of only two business
days for a mere subset of the requested documents. That offer still requires Mazars to ptoduce reams
of documents on September 19, and it does not give the President enough time to litigate his claim.

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the President’s rights and this Court’s jurisdiction, the President asks the Court for interim relief no
later than noon on September 19, 2019.

The President is entitled to interim relief for two independent reasons. First, the President
faces “irreparable harm” and has a “likelihood of success on the metits.”” Citigroup Glob. Markets, Inc.
v. VCG Special Opportunities Master Fund Ltd., 598 F.3d 30, 35 (2d Cir. 2010). The President will suffer
irreparable harm because, if this Court does not intervene to preserve the status quo, there will be no
way to unring the bell once Mazars complies with the District Attorney’s subpoena. The District
Attorney will have reviewed confidential documents that this Court may later determine were illegally
demanded. No damages award could ever make the President whole. And the denial of temporary
telief could prevent any meaningful judicial review of the President’s claims. This is the quintessential
case of irrepatable harm.

The President is also likely to prevail on the merits. No State can ctiminally investigate,
prosecute, or indict a President while he is in office. Unlike private civil suits, criminal investigations
impose severe burdens on the President and distract him from his constitutional duties. When the
prosecuting authority is a State, criminal investigations also violate core principles of federalism and
supremacy. That is why the Department of Justice and legal scholars have long held the view that the
President is immune from criminal process, for official and unofficial conduct alike, while he is in
office. “[P]ermitting such criminal process against a sitting President would affect the underlying
dynamics of our governmental system in profound and necessarily unpredictable ways, by shifting an
awesome power to ... persons lacking an explicit constitutional role vis-a-vis the President.” 24 O.L.C.
Op. at 258.

Second, the President easily prevails under the alternative test for a preliminaty injunction:
irreparable harm plus “sufficiently serious questions going to the merits to make them a fair ground
for litigation” and “‘a balance of hardships tipping decidedly toward the party requesting the

preliminary relief.”’ Citigroup, 598 F.3d at 35. In a procedurally similar case, the D.C. Circuit has held

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that irreparable harm is the “decisive element” favoring interim relief against a subpoena to a third-
party custodian. U.S. Servicemen’s Fund v. Eastland, 488 F.2d 1252, 1256-57 (D.C. Cir. 1973), subsequent
merits decision rev'd on other grounds, 421 U.S. 491. Only interim relief can ensure that the third-party
custodian does not disclose the plaintiff's information before the court can consider the “serious
constitutional questions” raised by the subpoenas with the necessary “consideration and deliberation.”
Id. That is precisely the situation here.

For the same reasons, the balance of harms and public interest tilt decidedly in the President’s
favor. Mazars will suffer no harm if interim relief is granted; if anything, it will be spared the cost of
complying with the subpoena and the prospect of liability to the President if the subpoena is invalid.
The only harm that the District Attorney will suffer, if he ultimately prevails on the merits, is some
delay before receiving the documents. Courts have consistently held that such harm is given little
weight and pales in compatison to the severe injury that the plaintiff will suffer if the status quo is not
preserved. Moreover, there is no public interest in allowing the District Attorney to subvert judicial
teview by enforcing a subpoena that has been challenged as unconstitutional. To the contrary, the
public interest is served by ensuring that this important dispute of constitutional magnitude is fully
and fairly resolved.

Finally, granting a preliminary injunction will allow this case to be adjudicated in an orderly
fashion. Without one, the President will be forced to seek the same relief from the Second Circuit and
the Supreme Court. There is no reason to burden the appellate courts with emergency requests. The
pteliminary injunction would be for a limited duration, would ensure that the status quo is preserved
while this Court considers the merits, and would cause no appreciable harm to Defendants or the
public. The President thus respectfully requests that this Court grant an administrative stay (if needed),

a TRO, and a preliminary injunction.
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BACKGROUND
On August 1, 2019, the District Attorney issued a grand jury subpoena to The Trump

Organization for documents and communications concerning the President. See Consovoy Decl., Ex.
B. The President’s attorneys entered into negotiations with the District Attorney’s office, and The
Trump Organization began complying with the subpoena. But the District Attorney’s ‘office later
revealed that it read the subpoena to cover the President’s personal tax returns. When the President’s
attorneys resisted that implausible interpretation, the District Attorney’s office decided to circumvent
the President by issuing a new subpoena to Mazars, a neutral third-party custodian, to produce this
information instead.

That subpoena, which was issued on August 29, 2019, directs Mazats to ptoduce a specific list

of records concerning the President:

1. For the period of January 1, 2011 to the present, with respect to Donald J. Trump, the
Donald J. Trump Revocable Trust, the Trump Organization Inc., the Trump
Organization LLC, the Trump Corporation, DJT Holdings LLC, DJT Holdings
Managing Member LLC, Trump Acquisition LLC, Trump Acquisition, Corp., the
Trump Old Post Office LLC, the Trump Foundation, and any related parents,
subsidiaries, affiliates, joint ventures, predecessors, or successors (collectively, the
“Trump Entities’):

Tax returns and related schedules, in draft, as-filed, and amended form;

b. Any and all statements of financial condition, annual statements, petiodic
financial reports, and independent auditors’ reports prepared, compiled,
reviewed, or audited by Mazars USA LLP or its predecessor, WeiserMazars
LLP;

c. Regardless of time period, any and all engagement agreements or contracts
related to the preparation, compilation, review, or auditing of the documents
described in items (a) and (b);

d. All underlying, supporting, or source documents and records used in the
preparation, compilation, review, or auditing of documents described in items
(a) and (b), and any summaries of such documents and tecords; and

e. All work papers, memoranda, notes, and communications related to the
pteparation, compilation, review, or auditing of the documents described in
items (a) and (b), including, but not limited to,

i. All communications between Donald Bender and any employee or
reptesentative of the Trump Entities as defined above; and
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it, All communications, whether internal or external, related to concerns
about the completeness, accuracy, or authenticity of any records,
documents, valuations, explanations, or other information provided by any
employee or representative of the Trump Entities.

2. For the period of January 1, 2011 to the present, with respect to Donald J. Trump, the
Donald J. Trump Revocable Trust, the Trump Organization Inc., the Trump
Organization LLC, the Trump Corporation, DJT Holdings LLC, DJT Holdings
Managing Member LLC, Trump Acquisition LLC, Trump Acquisition, Corp., the
Trump Old Post Office LLC, the Trump Foundation, and any related parents,
subsidiaries, affiliates, joint ventures, predecessors, or successors (collectively, the
“Trump Entities”):

Tax returns and related schedules, in draft, as-filed, and amended form;

b. Any and all statements of financial condition, annual statements, periodic
financial reports, and independent auditors’ reports prepared, compiled,
teviewed, or audited by Mazars USA LLP ot its predecessor, WeiserMazars
LLP;

c. Regardless of time period, any and all engagement agreements or contracts
related to the preparation, compilation, review, or auditing of the documents
described in items (a) and (b);

d. All underlying, supporting, or source documents and tecords used in the
preparation, compilation, review, or auditing of documents described in items
(a) and (b), and any summaries of such documents and records; and

e. All work papers, memoranda, notes, and communications related to the
pteparation, compilation, review, or auditing of the documents described in
items (a) and (b), including, but not limited to,

i. All communications between Donald Bender and any employee or
representative of the Trump Entities as defined above; and

iii All communications, whether internal or external, related to concerns
about the completeness, accuracy, or authenticity of any records,
documents, valuations, explanations, or other information provided by any
employee or representative of the Trump Entities.

Consovoy Decl., Ex. A.

Quite remarkably, the District Attorney’s subpoena to Mazars is identical to a subpoena that
the House Oversight Committee issued to Mazars (except for a few stylistic edits). See Doc. 11-2, at
3, Trump v. Comm. on Oversight C Reform, No. 19-cv-1136 (D.D.C.). The only exception is paragraph
1.a. The House Oversight Committee did not ask Mazars for the President’s tax returns, but the
District Attorney did. That request mirrors a subpoena that the House Ways and Means Committee

sent to the Treasury Department. See Doc. 1-14, Comm. on Ways ¢ Means v. U.S. Dept. of Treasury, No.
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1:19-cv-1974 (D.D.C.). Essentially, then, the District Attorney cut-and-pasted the House Oversight
and House Ways and Means subpoenas into a document and sent them to Mazars.

The District Attorney’s subpoena orders Mazats to produce the requested information by 2:00
p.m. on September 19, 2019. As with the first subpoena, the President’s attorneys reached out to the
District Attorney’s office to engage in good-faith negotiations over the Mazars subpoena, including at
a meeting with the District Attorney earlier today. Yet the District Attorney’s office ultimately refused
to natrow the subpoena, allow mote time for negotiations, or even stay enforcement of the subpoena
while the parties litigate over its validity. The President was thus forced to file this emergency motion

for interim relief.

ARGUMENT
The standard for granting a TRO and a preliminary injunction are the same. AIM Int’! Trading

LLC »v. Vakueine SpA., 188 F. Supp. 2d 384, 386 (S.D.N.Y. 2002). Preliminary relief is warranted if
there is ““(a) irreparable harm and (b) either (1) likelihood of success on the merits or (2) sufficiently
serious questions going to the merits to make them a fair ground for litigation and a balance of
hardships tipping decidedly toward the party requesting the preliminary relief.”’ Citigroup, 598 F.3d at
35. The President is entitled to relief under either standard.

I. The President will suffer irreparable harm without a preliminary injunction.

The President undoubtedly faces irreparable harm if the Court does not issue an order
preserving the status quo. If this Court does not intervene, Mazars could give the District Attorney
reams of the President’s financial records—private information that was shared with Mazars on the
condition that it would be kept confidential. If Mazars produces the information, the status quo can
never be restored. One district court aptly explained why the disclosure of confidential records is
“[c]learly ... irreparable in nature”:

Once confidentiality is breached, the harm is done and cannot be undone. Plaintiff

cannot subsequently perform its commitment to its clients to protect the

confidentiality of the documents and the information which they contain. There is no
way to recapture and remove ftom the knowledge of others information improperly
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disclosed by Defendant. No court order or specific performance can be framed to
accomplish that end, and no awatd of money damages will change the fact that
information which Plaintiff was entitled to have kept from the knowledge of third
parties is no longer shielded from their gaze. Confidentiality, like pregnancy, is an all
ot nothing proposition; either it exists or it does not exist.

Merrill Lynch, Pierce, Fenner C» Smith, Inc. v. Bishop, 839 F. Supp. 68, 72 (D. Me. 1993). “Once the
documents are surrendeted,” in other words, “confidentiality will be lost for all time. The status quo
could never be restored.” Providence Journal Co. v. FBI, 595 F.2d 889, 890 (1st Cir. 1979); see PepsiCo, Inc.
v. Redmond, 1996 WL. 3965, at *30 (N.D. Ill. 1996) (“[JJust as it is impossible to unring a bell, once
disclosed, ... confidential information lose their secrecy forever’); Metro. Life Ins. Co. v. Usery, 426
F. Supp. 150, 172 (D.D.C. 1976) (“Once disclosed, such information would lose its confidentiality
forever.”). That is why “[t]he disclosure of private, confidential information ‘is the quintessential type
of irreparable harm that cannot be compensated or undone by money damages.” Asrbnb, Inc. v. City of
New York, 2019 WL 91990, at *23 (S.D.N.Y. Jan. 3, 2019) (quoting Hirschfeld v. Stone, 193 F.R.D. 175,
187 (S.D.N.Y. 2000)).

Immediate relief is also needed to preserve the President’s opportunity to secure judicial review
of his constitutional claim. “Courts routinely issue injunctions to stay the status quo when” events
might otherwise “moot the losing party’s right to appeal.” John Doe Co. v. CFPB, 235 F.Supp.3d 194,
206 (D.D.C. 2017); see Cir. For Int'l Envtl. Law v. Office of U.S. Trade Rep., 240 F. Supp. 2d 21, 22-23
(D.D.C. 2003) (explaining that the movant makes “a strong showing of irreparable harm” where
disclosure would moot any appeal); John Doe Agency v. John Doe Corp., 488 U.S. 1306, 1309, (1989)
(Marshall, J., in chambers) (“The fact that disclosure would moot that part of the Court of Appeals’
decision requiring disclosure ... create[s] an irreparable injury.”). This “irreparable” harm exists when
a plaintiff challenges a subpoena to a thitd party. Eastland, 488 F.2d at 1256. “[C]ompliance by the
third person could frustrate any judicial inquiry” into the subpoena’s legality. Eastland, 421 U.S. at 501
n.14, Allowing this to happen would wrongly deny the plaintiff's rights and “immunize the subpoena

from challenge” based on “the fortuity that documents sought by [the] subpoena ate not in the hands
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of a patty claiming injury from the subpoena.” United States v. AT@>T Co., 567 F.2d 121, 129 (D.C. Cir.
1977). In short, denying interim relief could “entirely destroy [plaintiffs’] rights to secure meaningful
review.” Providence Journal, 595 F.2d at 890. That is classic irreparable harm.

II. The President is likely to succeed on the merits.

The President of the United States cannot be “subject to the criminal process” while he is in
office. Bork Memo 17. This principle follows from Article I, the Supremacy Clause, and the overall
structure of the Constitution.

Article I vests “[t]he executive Power” in one “President of the United States of America.”
§1. The President thus “occupies a unique position in the constitutional scheme,” Nexon v. Fitzgerald,
457 U.S. 731, 749 (1982); he “is the only person who is also a branch of government,” Jay S. Bybee,
Who Excecutes the Executioner?, 2-SPG NEXUS: J. Opinion 53, 60 (1997). Because “the President is a
unitaty executive,” “[w]hen the President is being prosecuted, the presidency itself is being
prosecuted.” Akhil Reed Amar & Brian C. Kalt, The Presidential Privilege Against Prosecution, 2-~SPG
NEXUS: J. Opinion 11, 12 (1997).

Article II also gives the President immense authority over foreign and domestic affairs. He
must, among other things, command the atmed forces, negotiate treaties and receive ambassadors,
appoint and remove federal officers, and “take Care that the Laws be faithfully executed.” §§2-3. The
President is “the chief constitutional officer of the Executive Branch, entrusted with supervisory and
policy responsibilities of utmost discretion and sensitivity.” Fazgerald, 457 U.S. at 750. “Unlike federal
lawmakers and judges, the President is at ‘Session’ twenty-four hours a day, every day. Constitutionally
speaking, the President never sleeps. The President must be ready, at a moment’s notice, to do
whatever it takes to preserve, protect, and defend the Constitution and the American people.” Akhil
Reed Amar & Neal Kumar Katyal, Executive Privileges and Immunities: The Nixon and Clinton Cases, 108

Harv. L. Rev. 701, 713 (1995).
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“{N]ecessarily implied”’ from the grant of these duties is ““the power to perform them.”
Fitzgerald, 457 U.S. at 749 (quoting 3 J. Story, Commentaries on the Constitution of the United States §1563).
“The president cannot, therefore, be liable to arrest, imprisonment, or detention, while he is in the
discharge of his office.”’ Id. Nor can he be investigated, indicted, or otherwise subjected to criminal
process. See_A Sitting President's Amenabihty to Indictment and Criminal Prosecution, 24 O.L.C. Op. 222, 246-
60 (Oct. 16, 2000); accord Brett M. Kavanaugh, Separation of Powers During the Forty-Fourth Presidency and
Beyond, 93 Minn. L. Rev. 1454, 1461 (2009) (“Even the lesser burdens of a criminal investigation—
including preparing for questioning by criminal investigators—are time-consuming and distracting...
[C]riminal investigations take the President’s focus away from his or her responsibilities to the people.
And a President who is concerned about an ongoing criminal investigation is almost inevitably going
to do a worse job as President.”); Nixon v. Sinica, 487 F.2d 700, 757 (D.C. Cir. 1973) (MacKinnon, J.,
concutting in part and dissenting in part) (explaining that “a// aspects of criminal prosecution of a
President must follow impeachment” and that “removal from office must precede ay form of criminal
process against an incumbent President” (emphases added)).

Notably, the Framers’ debates at the Philadelphia Convention “strongly suggest an
understanding that the President, as Chief Executive, would not be subject to the ordinary criminal
process.” Bork Memo. 6. They understood “that the nation’s Chief Executive, responsible as no other
single officer is for the affairs of the United States, would not be taken from duties that only he can
perform unless and until it is determined that he is to be shorn of those duties by the Senate.” Id. at
17, Oliver Ellsworth and John Adams, for example, stated that “‘the President, personally, was not
the subject to any process whatever.... For [that] would ... put it in the power of a common justice
to exercise any authority over him and stop the whole machine of Government.” Fitggerald, 457 USS.
at 750 n.31. Later, Thomas Jefferson opined that the Constitution would not tolerate the President

being “‘subject to the commands of the [judiciary], & to imprisonment for disobedience; if the several

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coutts could bandy him from pillar to post, keep him constantly trudging from north to south & east
to west,” they could “‘withdraw him entirely from his constitutional duties.” Id.

While the Supreme Court has held that a private litigant can sue the President in federal court
for his unofficial conduct, see Chinton v. Jones, 520 U.S. 681 (1997), criminal process comes with a
“distinctive and serious stigma” that “imposes burdens fundamentally different in kind from those
imposed by the initiation of a civil action” —burdens that would intolerably “threaten the President’s
ability to act as the Nation’s leader in both the domestic and foreign spheres.” 24 O.L.C. Op. at 249.
“A civil complaint filed by a private person is understood as reflecting one person’s allegations,” while
the “stigma and opprobrium associated with a criminal charge” is “a public rather than private
allegation of wrongdoing” that would “undermin[e] the President’s leadership and efficacy both here
and abroad.” Id. at 250-51. The “burdens of responding” to criminal proceedings, moreover, “are
different in kind and far greater than those of responding to civil litigation,” given their intensely
personal nature, their “unique mental and physical burdens” on the suspect, and the “substantial
preparation” they demand. Id at 251-54.

At bottom, “[t]o wound [the President] by a criminal proceeding is to hamstring the operation
of the whole governmental apparatus, both in foreign and domestic affairs.” Memorandum from
Robert G. Dixon, Jr., Asst. Att’y Gen., O.L.C., Re: Amenability of the President, Vice President, and Other
Ciuil Officers to Federal Crinunal Prosecution While in Office 30 (Sept. 24, 1973) (Dixon Memo.). The
President thus cannot be subject to criminal investigation, for any conduct of any kind, while he is

serving as President.”

 

* Other provisions of the Constitution bolster this conclusion. Beyond creating a unitary
executive and granting him immense powers and responsibilities, Article II also provides that the
President “shall hold his Office during the Term of four Years” and contemplates his “remov[al]”
only via “Impeachment.” §§1, 4. Removal by impeachment, in turn, requites conviction by two-thirds
of the Senate. Art. I, §3. Indeed, the Constitution states that a President “convicted” by the Senate
can then be “liable and subject to Indictment, Trial, Judgment, and Punishment, according to Law.”
Id. The use of the past-tense “convicted” reinforces that the President cannot be subject to criminal
process before that point. See Bybee 54-65. Prominent Founders agreed. See, ¢.g., Federalist No. 69, at

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Any other rule is untenable. It would allow a single prosecutor to citcumvent the
Constitution’s specific rules for impeachment. See Kendall v. U.S. ex rel. Stokes, 37 U.S. 524, 610 (1838);
24 O.L.C. Op. at 246, The Constitution’s assignment of the impeachment power to Congtess and its
supermajority requirement for removal ensute that “the process may be initiated and maintained only
by politically accountable legislative officials” who represent a majority of the entite nation. 24 O.L.C.
Op. at 246; see also Dixon Memo 32 (“[T]he presidential election is the only national election, and there
is no effective substitute for it.... The decision to terminate [the President’s nationwide electoral]
mandate, therefore, is more fittingly handled by the Congress than by a jury”); Amar & Kalt 12 (“The
President is elected by the entire polity and represents all 260 million citizens of the United States of
Amertica. If the President were prosecuted, the steward of a// the People would be hijacked from his
duties by an official of few (or none) of them.”); Amat & Kaytal 713.

The constitutional prohibition on subjecting a sitting President to criminal process is even
stronger when applied to state and local governments. “Because the Supremacy Clause makes federal
law ‘the supreme Law of the Land,’ Art. VI, cl. 2, any direct control by a state court over the President,
who has principal responsibility to ensure that those laws are ‘faithfully executed,’ Art. I, §3,” raises
sefious constitutional concerns even in civil cases. Jones, 520 U.S. at 691 (citing Hancock v. Train, 426
U.S. 167, 178-79 (1976); and Mayo v. United States, 319 U.S. 441, 445 (1943)). But in criminal cases,
where the State is not acting as a mere forum for private litigation but is #se/f interfering with the

President’s duties, investigating the President plainly violates the Supremacy Clause.

 

416 (Alexander Hamilton) (Rossiter ed., 1961) (“The President ... would be liable to be impeached,
tried, and, upon conviction ... would afenvards be liable to prosecution and punishment in the ordinary
course of law.” (emphasis added)); 2 Farrand, Records of the Federal Convention 500 (tev. ed. 1966)
(Gouverneur Morris: “A conclusive reason for making the Senate instead of the Supreme Court the
Judge of impeachments, was that the latter was to try the President affer the trial of the impeachment.”
(emphasis added)); Federalist No. 77 at 464 (Alexander Hamilton) (discussing impeachment and
“subsequent prosecution in the common coutse of law” (emphasis added)).

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Under the Supremacy Clause, States cannot “defeat the legitimate operations” of the federal
government. M ‘Culloch, 17 U.S. at 427, “It is of the very essence of supremacy, to remove all obstacles
to its action within its own sphere, and so to modify every power vested in subordinate governments,
as to exempt its own operations from their own influence.” Id. Because the President is the solitary
head of the executive branch, subjecting him to criminal process would “arrest[] all the [executive
powers] of the government, and ... prostrat[e] it at the foot of the states.” M‘Culloch, 17 US. at 432;
see Amat & Kalt 13-16.

The threat that state criminal process poses to a President cannot be overstated. He is an
“easily identifiable target,” and “[c]ognizance of this personal vulnerability frequently could distract a
President from his public duties, to the detriment of not only the President and his office but also the
Nation that the Presidency was designed to serve.” Fitygerald, 457 U.S. at 752-53. State and local
prosecutors have massive incentives to criminally investigate the President to advance their careers or
damage a political opponent. And given the heavy burdens associated with criminal process, “all you
need is one prosecutor, one trial judge, the barest amount of probable cause, and a supportive local
constituency, and you can shut down a presidency.” Jed Shugerman, A Sising President Generally Can't
Be Indicted, ShugerBlog (May 22, 2018), bit.ly/2kCYbOw.

For all of these reasons, the Constitution prohibits States from subjecting the President to
criminal process while he is in office. The notion that this prohibition “places the President ‘above
the law” is “wholly unjustified.” Fitzgerald, 457 U.S. at 758 n.41. “It is simply error to characterize an
official as ‘above the law’ because a particular remedy is not available against him.” Id Again, “[a]
sitting President who engages in criminal behavior falling into the category of ‘high Crimes and
Misdemeanors’ always subject to removal from office upon impeachment by the House and
conviction by the Senate, and is thereafter subject to criminal prosecution.” 24 O.L.C. Op. 257; see also
Bybee 63 (“[T]hat the President is not above the law ... is a red herring. ... [The relevant constitutional]

clauses do not give the President immunity from prosecution; rather, they specify an order in which

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things are to occur.”). We of course have “a government of laws, not men,” but “the People have a
right to vigorous Executive who protects and defends them, their country, and their Constitution.
Temporary immunity is the only way to ensure both of these things.” Amar & Kalt 20-21.

The District Attorney’s subpoena to Mazats attempts to criminally investigate the President.
It names him as a target. It seeks his personal records, including his personal tax returns. It was directed
to his business, and then his accountant, precisely because of their connections with the President. It
ptecisely copies a congressional subpoena that the House General Counsel admitted “involve[s] the
presidency” and “you have to look at ... in terms of these ate the records of the President.” O.A.
Transcript 76-77, Trump v. Mazars USA, LLP, No. 19-5142 (D.C. Cir.). The District Attorney’s
subpoena also asks about the President’s alleged conduct. As a grand-jury subpoena, its purpose is to
bolster “a finding that it is probable that the President has committed a crime.” Strica, 487 F.2d at 758
(MacKinnon, J., concurring in part and dissenting in part). That insinuation, even if made “obliquely,”
would “vitiate the sound judgment of the Framers that a President must possess the continuous and
undiminished capacity to fulfill his constitutional obligations.” Id. Out constitutional system forbids a
single State from investigating the President in this matter. The Mazars subpoena cannot be enforced
while the President is in office.

III. Alternatively, the President has raised serious questions and the balance of hardships
tips decidedly in his favor.

At the very least, the President’s claim raises “sufficiently serious questions going to the merits
to make them a fair ground for litigation” and the “balance of hardships tip[s] decidedly toward ...
pteliminaty relief.”’ Citigroup, 598 F.3d at 35. Eastland is directly analogous. There, a congressional
committee subpoenaed the plaintiffs bank for “records pertaining to or involving the [plaintiffs]
account or accounts.” 488 F.2d at 1254. The plaintiff sued the bank and several congressional
defendants for a declaration that the subpoena was unenforceable and for an injunction prohibiting

the defendants from enforcing or complying with it. Id. at 1254-56. When the district court denied a

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TRO, the D.C. Circuit reversed and stayed the subpoena’s enforcement. See zd. at 1256. The “decisive
element” favoring a stay, the D.C. Circuit explained, was the fact that “unless a stay is granted this
case will be mooted, and there is likelihood, that irreparable harm will be suffered by [plaintiff when
the subpoena’s due date artives].” Id. The court added that the stay was warranted because the case
taised “serious constitutional questions that require more time” and issues “of such significance that
they require” further “consideration and deliberation.” Id. When the district court then denied a
preliminary injunction on remand, the D.C. Circuit reversed again and entered another stay to preserve
the status quo. See zd. at 1257. The D.C. Circuit reiterated that the district court needed to fully consider
the merits of plaintiff's claims on final judgment to “ensure” that the case “is determined with the best
available perspective, both as to the underlying evidence and the appraisal thereof by the District
Judge.” Id. at 1257.

This Court should follow Eastland. Here too, the President faces “itreparable harm” if he does
not receive interim relief before the subpoena’s due date. Id. at 1256. And here too, the President
raises “serious constitutional questions” that should be tesolved following full merits briefing, oral
argument, and this Court’s “best available perspective” after thoughtful “consideration and
deliberation.” Id. at 1256-57. If anything, the constitutional questions raised in this case—whethet and
how a State can subject a sitting President to criminal process—are more serious and important than
the questions in Eastland. See Brett M. Kavanaugh, Separation of Powers During the Forty-Fourth Presidency
and Beyond, 93 Minn. L. Rev. 1454, 1486 n.31 (2009). And ruling against the President on these
questions would overrule the formal position of the U.S. Department of Justice and the views of
“[ajlmost all legal commentators.” Bork Memo 17. Hence, the fact that the President will suffer
irreparable harm if the subpoena is not stayed and Mazars reveals his information should be “decisive.”
Eastland, 488 F.2d at 1257.

Also like Eastland, the balance of harms in this case tips decidedly in favor of a preliminary

injunction. For Mazars, it will actually beneft from an order preserving the status quo. As a matter of

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state and federal law, accountants like Mazars have a legal obligation to keep their clients’ information
confidential. See AICPA Code §1.700.001.01 (prohibiting accountants from “disclosfing] any
confidential client information without the specific consent of the client”); 8 N.Y.C.R.R. §29.10(c)
(“[U]nprofessional conduct” by accountants includes the “revealing of personally identifiable facts,
data or information obtained in a professional capacity without the prior consent of the client.”); 26
U.S.C. §7216 (prohibiting tax preparers from disclosing tax returns). A subpoena does not exempt
Mazars from this duty unless it is “validly issued and enforceable.” AICPA Code §1.700.001.02. But
the validity and enforceability of the subpoena is exactly what the President challenges in this lawsuit.
Mazats thus faces a difficult choice: ignore the subpoena and risk adverse action by the District
Attorney, or comply with the subpoena and risk liability to the President. Only interim relief resolves
this dilemma: It allows an “orderly resolution of [the] disputed question” by permitting Mazars to
“merely await a court ruling on [the President’s] challenge.” AT@”T, 567 F.2d at 129. Such relief would
tecognize and enforce the principle that, when a client “challenges the enforceability of a subpoena,”
the accountant “c[an] refuse to produce the documents, thereby allowing [the client to litigate], azthout
violating its obligation to comply with enforceable subpoenas.” United States v. Deloitte LLP, 610 F.3d 129, 142
(D.C. Cir. 2010) (emphasis added).

As for the District Attorney, he has no urgent need for the subpoenaed documents. “[T]he
events at issue are already several years old and if the [defendants] prevail] in this litigation, the records
will ultimately be produced.” Judicial Watch, Inc. v. U.S. Dep't of Homeland Sec., 514 F. Supp. 2d 7, 11
(D.D.C. 2007). The District Attorney’s “interest in receiving the records immediately” thus “poses no
threat of irreparable harm to [him].” Shapiro v. DOJ, 2016 WL 3023980, at *7 (D.D.C. May 25, 2016)
(quoting John Doe Agency, 488 U.S. at 1309 (Marshall, J., in chambers)); see EPIC v. DOJ, 15 F. Supp.
3d 32, 47 (D.D.C. 2014) (explaining that “desire to have [the documents] in an expedited fashion
without more is insufficient to constitute irreparable harm”). Interim relief only “postpones the

moment of disclosure ... by whatever period of time may be required” to finally adjudicate the merits

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of the President’s claim. Providence Journal, 595 F.2d at 890; see Fund For Animals v. Norton, 281 F. Supp.
2d 209, 222 (D.D.C. 2003) (rejecting government’s claim of harm in having its action “delayed for a
short period of time pending resolution of this case on the merits”); 22nd Avenue Station, Inc. v. City of
Minneapolis, 429 F.Supp.2d 1144, 1152 (D. Minn. 2006) (similar); Inchcape Shipping Services Holdings Lita.
v. United States, 2014 WL 12838793, at *3 (Fed. Cl. 2014) (similar). Regardless, whatever interest the
District Attorney might have in immediately obtaining these documents pales in comparison to the
President’s interest in securing judicial review before the status quo is forever altered.

Last, the public interest weighs strongly in favor of preserving the status quo. The District
Attorney simply “does not have an interest” in violating the Constitution, Amarin Pharma, Inc. v. FDA,
119 F. Supp. 3d 196, 237 (S.D.N.Y. 2015), and the public “clearly” has “an interest in the government
maintaining procedures that comply with constitutional requirements,” ACORN v. FEMA, 463
F, Supp. 2d 26, 36 (D.D.C. 2006) (citing O'Donnell Const. Co. v. District of Columbia, 963 F.2d 420, 429
(D.C. Cir. 1992)). Allowing the District Attorney to evade judicial review is not in the public interest.
“Although ... the public has an interest in ensuring that the [government] can exercise its authority,”
“Defendants offer no persuasive argument that there is an immediate public interest in enforcing ...
[now] rather than after a full hearing.” Cigar _Ass’n of Am. v. FDA, 317 F. Supp. 3d 555, 563 (D.D.C.
2018). Nor could New York County’s interest in immediately enforcing its criminal laws possibly
outweigh ¢he nation’s interest in “the functioning of an entire branch of government.” 24 O.L.C. Op.
at 257. All the factors governing a plaintiff's entitlement to preliminary relief strongly favor the

President.

CONCLUSION

For these reasons, this Court should grant the President’s motion. The President respectfully
requests that, by noon on September 19, 2019, the Court enter a TRO requiring Defendants not to
enforce or comply with the subpoena until the motion for a preliminary injunction is resolved. Then,

after briefing and oral argument, the Court should enter a preliminary injunction ordering Defendants

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not to enforce or comply with the subpoena until this case is finally resolved on the merits. The Court

should grant an administrative stay, as needed, to prtesetve its ability to consider the President’s

motion.

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